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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


BARBARA KOWAL

               Plaintiff,

       v.                                            Civil Action No. 18-938 (TJK)
UNITED STATES DEPARTMENT OF JUS-
TICE et al.,

               Defendants.


                                 MEMORANDUM OPINION

       This Freedom of Information Act case is back for its third round of summary judgment

motions. The only remaining issue is the propriety of certain Exemption 7(E) withholdings. Given

Defendants’ clarification about the information at issue, the Court will grant their renewed motion

for summary judgment and deny requestor Barbara Kowal’s cross-motion.

I.     Background

       The Court assumes familiarity with the background of this case. See ECF Nos. 34, 52.

Briefly, Kowal, a paralegal for the Federal Defender of the Middle District of Florida, requested

all documents the Drug Enforcement Agency (“DEA”) had about the prosecution of a particular

capital defendant. After the DEA produced some documents and withheld others in whole or in

part, Kowal sued the DEA and the Department of Justice (“DOJ”) under the FOIA.

       During the last round of summary judgment motions, the Court granted Defendants sum-

mary judgment as to everything except certain Exemption 7(E) withholdings. The Court found

that the DEA properly invoked Exemption 7(E) to withhold “‘Geo-Drug Enforcement Program

(G-DEP) identifiers,’ ‘Narcotics and Dangerous Drugs Information System (NADDIS) numbers,’

and DEA file numbers.” ECF No. 52 at 13. But the Court held that Defendants did not provide
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enough information for it to decide the propriety of withholding “‘material that would reveal sen-

sitive, non-public references to the DEA’s Agents’ Manual’ and ‘certain information that would

reveal sensitive, non-public references to the DEA’s Agents’ Manual.’” Id. at 13–14. This de-

scription, the Court found, left “unclear what law enforcement procedures are at stake and how

references to the DEA Agents’ Manual might disclose those procedures.” Id. at 14. Thus, the

Court denied without prejudice the motions for summary judgment as to those withholdings.

       Defendants now renew their motion, clarifying that when they referenced material “that

would reveal sensitive, non-public references to the DEA’s Agents’ Manual,” they did not “in-

tend[] to signify that any additional material was withheld under 7(E) that could reveal sensitive,

non-public references to the DEA Agents’ Manual.” ECF No. 55-2 ¶ 10. They “meant to encom-

pass the same material already described as being exempt under Exemption 7(E),” id.—“infor-

mation such as DEA file numbers, as well as related files, cross-files, NADDIS numbers, and other

specific numbers and codes that could lead to discovery and circumvention of the law by drug

violators,” id. ¶ 7. And that information, they argue, is what the Court already said the DEA

properly withheld. Id.

       Kowal cross-moves, arguing that the Court granted summary judgment as to only three

specific categories of Exemption 7(E) withholdings: “G-DEP, NADDIS, and DEA file numbers.”

ECF No. 57-2 at 5. But Defendants invoked the exemption to withhold other information, such as

“quantitative and qualitative drug classification criteria for violators, derived from the DEA

Agents’ Manual,” and “assessments of numerical class of drug violator and internal drug violator

codes, also derived from the DEA Agents’ Manual.” Id. (cleaned up). And according to Kowal,

withholding that other information was improper.




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II.      Legal Standard

         Federal Rule of Civil Procedure 56 provides that a court “shall grant summary judgment if

the movant shows that there is no genuine dispute as to any material fact and the movant is entitled

to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The “majority of FOIA cases can be

resolved on summary judgment.” Brayton v. Office of U.S. Trade Representative, 641 F.3d 521,

527 (D.C. Cir. 2011). “FOIA ‘mandates that an agency disclose records on request, unless they

fall within one of nine exemptions.’” Elec. Privacy Info. Ctr. v. Dep’t of Homeland Sec. (“EPIC”),

777 F.3d 518, 522 (D.C. Cir. 2015) (quoting Milner v. Dep’t of Navy, 562 U.S. 562, 565 (2011));

see also 5 U.S.C. § 552(b)(1)–(9). A court reviewing a FOIA action may grant summary judgment

based on the agency’s declarations “[i]f an agency’s affidavit describes the justifications for with-

holding the information with specific detail, demonstrates that the information withheld logically

falls within the claimed exemption, and is not contradicted by contrary evidence in the record or

by evidence of the agency’s bad faith.” ACLU v. U.S. Dep’t of Def., 628 F.3d 612, 619 (D.C. Cir.

2011).

III.     Analysis

         The Court agrees with Defendants: its prior Exemption 7(E) decision dictates the outcome

here. Exemption 7(E) allows the withholding of documents compiled for law enforcement pur-

poses if disclosing such records “would disclose techniques and procedures for law enforcement

investigations or prosecutions, or would disclose guidelines for law enforcement investigations or

prosecutions if such disclosure could reasonably be expected to risk circumvention of the law.”

5 U.S.C. § 552(b)(7)(E). An agency’s burden for this exemption is “relatively low.” Blackwell v.

FBI, 646 F.3d 37, 42 (D.C. Cir. 2011). So long as the requested information “relates to law en-

forcement techniques, policies, and procedures,” Showing Animals Respect & Kindness v. U.S.




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Dep’t of Interior, 730 F. Supp. 2d 180, 199 (D.D.C. 2010), the agency need only “demonstrate

logically how the release of [it] might create risk of circumvention of the law,” Blackwell, 646

F.3d at 42 (quoting Mayer Brown LLP v. IRS, 562 F.3d 1190, 1194 (D.C. Cir. 2009)).

        When the Court previously considered the DEA’s Exemption 7(E) withholdings, it distin-

guished between information described as part of the DEA’s “internal system of developing crim-

inal activity information and intelligence,” ECF No. 36-1 ¶ 32, and a more nebulous category of

“material” and “information” that “would reveal sensitive, non-public references to the DEA’s

Agents’ Manual.” ECF No. 52 at 13 (cleaned up); see also ECF No. 57-1 at 1–2. The Court

granted Defendants summary judgment as to all but the latter. ECF No. 52 at 13–14. So now that

Defendants have clarified that there is no separate latter category, it is self-evident that no category

of withholdings remain. ECF No. 55-2 ¶ 10. In other words, the Court has already found all the

DEA’s Exemption 7(E) withholdings proper.

        Even if the Court had not yet ruled on the specific withholdings Kowal identifies—“quan-

titative and qualitative drug classification criteria for violators, derived from the DEA Agents’

Manual,” as well as “assessments of numerical class of drug violator and internal drug violator

codes, also derived from the DEA Agents’ Manual”—Defendants have shown that they are pro-

tected by Exemption 7(E). ECF No. 57-2 at 5. Such information plainly “relates to law enforce-

ment techniques, policies, and procedures.” Showing Animals Respect & Kindness, 730 F. Supp.

2d at 199; Long v. ICE, 149 F. Supp. 3d 39, 49 (D.D.C. 2015) (“internal database codes, fields,

and other types of identifiers used by law enforcement agencies to conduct, organize, and manage

investigations and prosecutions qualify, at least, as law enforcement guidelines, if not also law

enforcement methods and techniques”). And Defendants have sufficiently shown how release of

the information “might risk circumvention of the law.” Blackwell, 646 F.3d at 42; see ECF No.




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55-2 ¶ 9; Blackwell, 646 F.3d at 42 (finding that similar statements “suffice[] . . . to justify invo-

cation of Exemption 7(E)”).

        Kowal’s primary response is that the withheld information is not “generally unknown” to

the public. ECF No. 57-2 at 6. She claims that “information about the DEA’s file organization

and classification codes can be found in many numerous publicly available sources.” Id. But the

Court found similar arguments unpersuasive the last time around. ECF No. 52 at 13 n.5. And it

reaches the same conclusion here. See Pub. Citizen v. Dep’t of State, 11 F.3d 198, 201 (D.C. Cir.

1993) (“[A] plaintiff asserting that information has been previously disclosed bears the initial bur-

den of pointing to specific information in the public domain that duplicates that being withheld,”

and “show[ing] that similar information has been released” is insufficient.); Afshar v. U.S. Dep’t

of State, 702 F.2d 1125, 1130 (D.C. Cir. 1983) (“In many cases, the very fact that a known datum

appears in a certain context or with a certain frequency may itself be information that the govern-

ment is entitled to withhold.”); see also Fitzgibbon v. CIA, 911 F.2d 755, 766 (D.C. Cir. 1990).

        All in all, the Court agrees with Defendants that the DEA’s Exemption 7(E) withholdings

have been sufficiently justified. And now that Defendants have shown that all the DEA’s Exemp-

tion 7(E) withholdings are proper, the Court will also find that the DEA released all “reasonably

segregable portions” of the documents at issue, for same the reasons already explained as to all the

other withholdings. ECF No. 52 at 15-16; see id. at 16 n.7. Kowal, for her part, raises no challenge

to segregability at this point.




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IV.    Conclusion

       For the above reasons, the Court will grant Defendants’ Motion for Summary Judgment

and deny Kowal’s Cross-Motion. A separate order will issue.



                                                         /s/ Timothy J. Kelly
                                                         TIMOTHY J. KELLY
                                                         United States District Judge

Date: September 2, 2022




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